                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      NO. 3:12-00206-05
                                              )      JUDGE CAMPBELL
BRANDON STUCZYNSKI                            )

                                         ORDER

      The sentencing hearing currently scheduled for November 10, 2014, at 10:30 a.m. is

RESCHEDULED for November 10, 2014, at 3:30 p.m.

      It is so ORDERED.

                                              ____________________________________
                                              TODD J. CAMPBELL
                                              UNITED STATES DISTRICT JUDGE




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